                               Case 15-22561          Doc 141        Filed 06/19/17         Page 1 of 1
Entered: June 19th, 2017
Signed: June 16th, 2017

SO ORDERED




                                             UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF MARYLAND
                                                      AT GREENBELT

         In re:                                                     :    Case No. 15-14818-PM

         Katarina Giselle Madison                                   :    Chapter 13

                Debtor                                              :
         _______________________________________

         Katarina Giselle Madison                                   :

                   Movant                                           :

         vs.                                                        :    Rule 9014 Contested Matter

         Bay Utilities, Inc.                                        :

                   Respondent                                       :


                                                ORDER ON OBJECTION TO CLAIM

                  Upon consideration of the objection of Katarina Giselle Madison, the captioned debtor, to the allowance of
         Claim No. 4 filed by Bay Utilities, Inc. (“Claimant”), the opposition thereto, the arguments of counsel at the hearing
         on this matter on June 13, 2017, and as explained by the Court on the record at that hearing, it is,

                  ORDERED, that Debtor’s objection to the allowance of the Proof of Claim of Bay Utilities, Inc. in the
         amount of $7,559.47, is hereby overruled regarding entitlement to attorney’s fees and costs, and sustained regarding
         the present value interest rate and acceleration issues, as follows: the claim is hereby allowed as a secured arrearage
         claim in the amount of $3,239, plus present value interest thereon at the rate of 5.0% per annum pursuant to 11
         U.S.C. § 1325(a)(5).

         Copies To:
         Debtor
         Debtor’s Counsel
         Chapter 13 Trustee
         Respondent
                                                             End of Order
